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 Fill in this information to identify your case:

 Debtor 1                 Giju Korah Mattamana
                          First Name                        Middle Name               Last Name

 Debtor 2                 Sini Giju Mattamana
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              MARYLAND

 Case number           20-14926
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         American Honda Finance                                Surrender the property.                            No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a               Yes
    Description of       2016 Honda Odyssey 50000                            Reaffirmation Agreement.
    property             miles                                               Retain the property and [explain]:
    securing debt:



    Creditor's         State Emp Cu Of Maryla                                Surrender the property.                            No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a               Yes
    Description of       2019 Honda Civic 5000 miles                         Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:



    Creditor's         Suntrust Bank                                         Surrender the property.                            No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a               Yes
    Description of       8 Cornfied Court Reisterstown,                      Reaffirmation Agreement.
    property             MD 21136 Baltimore County                           Retain the property and [explain]:


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 Debtor 1      Giju Korah Mattamana
 Debtor 2      Sini Giju Mattamana                                                                    Case number (if known)    20-14926

     securing debt:                                                       exempt


     Creditor's    United Equitable Mtg                                     Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     Eagle Rock Lot 261 Hazleton,                        Reaffirmation Agreement.
     property           PA 18202 Luzerne County                             Retain the property and [explain]:
     securing debt:     .17 acre lot purchased 4 years
                        ago at Eagle Rock Resort

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Giju Korah Mattamana                                                     X /s/ Sini Giju Mattamana
       Giju Korah Mattamana                                                             Sini Giju Mattamana
       Signature of Debtor 1                                                            Signature of Debtor 2

       Date        May 13, 2020                                                     Date     May 13, 2020


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 Debtor 2      Sini Giju Mattamana                                                                   Case number (if known)   20-14926




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